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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                              Crim. Action No. 21-175 (TJK)

 ETHAN NORDEAN, et. al.,

                       Defendants.


                                           ORDER


       Upon consideration of the government’s Unopposed Motion to Continue Deadline for

Filings Regarding Scope of Cross-Examination, it is this ___ day of March, 2023, ORDERED

that the motion is GRANTED. It is

       FURTHER ORDERED that all parties’ filings on the scope of Special Agent Miller’s

cross-examination shall be filed no later than 12:00 p.m. on March 12, 2023.

       SO ORDRED.



       __________                                   __________________________________
       Date                                         Timothy J. Kelly
                                                    United States District Judge
